                United States Court of Appeals
                                  For the First Circuit
                                     _____________________

No. 23-1765
                         NATALIE ANDERSON; ANDRE C. BISASOR,

                                       Plaintiffs - Appellants,

                                                  v.

  PATRICK DONOVAN; NH SUPREME COURT; NH RULES ADVISORY COMMITTEE;
          NH PROFESSIONAL CONDUCT COMMITTEE; LORRIE PLATT,

                                       Defendants - Appellees.
                                       __________________

                                       ORDER OF COURT

                                      Entered: March 24, 2025

        This matter is before the court on plaintiffs-appellants' "emergency motion for
clarification" related to this court's September 23, 2024, judgment of affirmance. With that
judgment, this court summarily affirmed "the district court's dismissal of the underlying action,
substantially for the reasons set forth by the district court in relevant rulings"; the court cited this
court's Local Rule 27.0(c) (court may dispose of appeal at any time if "no substantial question" is
presented) and relevant precedent, including Tower Ventures, Inc. v. City of Westfield, 296 F.3d
43, 47 (1st Cir. 2002) ("When a litigant seeks an extension of time and proposes a compliance
date, the court is entitled to expect that the litigant will meet its self-imposed deadline.").

       Plaintiffs-appellants' motion for clarification is denied. No clarification is necessary. The
court summarily affirmed the ruling of the district court based on the conclusion that that ruling
comports with relevant decisions of the court.

        The court will grant a final extension of time for plaintiffs-appellants to file any petition
for panel rehearing and en banc determination. See Fed. R. App. P. 40; 1st Cir. R. 40.0. Any such
filing should be made within 14 days of entry of this order. Barring a showing of extraordinary
circumstances, plaintiffs-appellants should not expect a further extension of this deadline.

                                                       By the Court:

                                                       Anastasia Dubrovsky, Clerk

cc:
Natalie Anderson, Andre C. Bisasor, John M. Formella
